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               EXHIBIT 24
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                                                                                              FILED
                                                                                         17 NOV 06 AM 11:29
1                                                                           Hon. Judith H. Ramseyer
                                                                                         KING COUNTY
2                                                                                    SUPERIOR COURT CLERK
                                                                                            E-FILED
3                                                                                 CASE NUMBER: 17-2-07094-7 KNT

4

5

6                  SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
7    FIRS HOMEOWNERS ASSOCIATION, et al.,
                                                                     NO. 17-2-07094-7 KNT
8                                     Petitioners,
             v.                                                      Petitioners’ REPORT to Court
9
     CITY OF SEATAC, et al.,
10                                    Respondents.
11

12   TO:     The COURT, and
13
     TO:     RESPONDENTS, other parties, and their respective attorneys:
14
             By Order dated May 26, 2017, this Court granted petitioners’ motion to continue
15
     the initial hearing herein six months to facilitate settlement negotiations among the
16

17   parties. The Court’s May 26, 2017 Order, in relevant part, provides that 1) the deadline

18   for respondents to file their [opening] briefs is February 13, 2018; and 2) “Additionally,

19   on the dates set for filing opening briefs, responding briefs, and replies, any party may
20
     file a dispositive motion for hearing on that schedule (emphasis added).”1 Order, at page
21
     3, lines 6-7.
22

23
             1 The next sentence of the Court’s May 26, 2017 Order states: ”Further, the Court’s ruling does
24
     not address the notice of park closure Respondent Fife Motel has given to Petitioners.” The SeaTac
     Municipal Code provides in relevant part that The Firs Mobile Home Park cannot be closed until after
25
     all Firs MHP residents are re-located. Kerry Lynch, Respondent Fife Motel’s relocation specialist's
     updates establish that affordable dwelling units to accommodate Firs MHP residents are unavailable in
26
     King and Pierce Counties within 40 miles of The Firs MHP (The Firs HOA members seek to remain in
     the Firs MHP, or re-locate as a group to a location within the Highline School District.) Mr. Park cannot
27

      Petitioners REPORT to the Court, page 1 of 4                                     THE PUBLIC ADVOCATE, N.C.
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1           Mr. Jong Park, on behalf of respondent Fife Motel, for months negotiated with
2    Sharon Lee, Executive Director, Low Income Housing Institute, for acquisition by LIHI of
3
     the east one-half of the Firs MHP property. On Aug 7, 2017, Mr. Park abruptly terminated
4
     negotiations, indicating he did not need the money and that instead of selling to LIHI, he
5
     might want to develop rental housing himself on the eastern half of The Firs MHP
6

7    property.

8           On October 26, 2017, Walt Olsen (attorney for respondent Fife Motel) discussed

9    with Henry Lippek (of attorneys for petitioners) that Mr. Park offers to extend his closing
10
     of The Firs MHP to December 31, 2017. Lippek responded that such an offer would
11
     likely be unacceptable to petitioners because The Firs MHP cannot be closed until after
12
     all Firs MHP residents are relocated, but possible acceptable variations were discussed.
13
     Mr. Park was requested submit his offer in writing for consideration by petitioners. Mr.
14

15   Park declined to do so. Nevertheless, petitioners agreed to accept an agreement by Mr.

16   Park extending his notice of closure of The Firs MHP to February 13, 2018, subject to
17   further extension by agreement or Court order.
18
            Instead of responding to petitioners’ offer—precisely the status quo—Mr. Park
19
     sealed the Firs MHP office rent depository and refused to accept November rent from
20
     Firs MHP residents.
21

22          In response, Firs MHP residents rent is being collected by Mr. Barraza and held

23   in trust, pursuant to Washington State Bar Association rules governing client funds,

24   subject to disbursal by agreement or Court order.
25

26   lawfully close the Firs MHP until such time that all Firs MHP residents are in fact re-located. SMC
     15.465.600 H. 1. 2. & 3.
27

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1           Although, Mr. Park is so far refusing to negotiate with petitioners, but instead
2    attempting to needlessly frighten vulnerable Firs MHP residents and their children, The
3
     Firs HOA is working to partner with government agencies, nonprofit organizations,
4
     unions, investors and others to acquire The Firs MHP by negotiations if possible or
5
     condemnation if necessary.
6

7           Acquisition of the Firs MHP is the preferred alternative, but if it proves infeasible,

8    other alternatives being pursued are acquisition of an existing multifamily structure, and

9    finally, acquiring land to construct new modular dwellings to accommodate all Firs HOA
10
     members as owners, not tenants. Each successive alternative will require more
11
     resources and time to complete.
12
            Although each alternative will require multiple pieces to come together, it appears
13
     a combination of grants, in-kind assistance, loans, sweat equity and other resources can
14

15   be assembled to achieve The Firs HOA objectives.

16          Respectfully submitted November 6, 2017.
17   BARRAZA LAW, PLLC                                  THE PUBLIC ADVOCATE
                                                        A NONPROFIT PROFESSIONAL SERVICES CORPORATION
18

19   Vincente Omar Barraza                              Henry E. Lippek
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24

25

26
27

      Petitioners REPORT to the Court, page 3 of 4                             THE PUBLIC ADVOCATE, N.C.
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1                                      DECLARAITION OF SERVICE

2           On the date entered below, the undersigned duly and properly delivered the
     foregoing report by email attachment to the following counsel of record in this matter:
3

4    Attorneys for City of SeaTac:                      Petitioner’s attorneys:
     Mary Mirante Bartolo                               Vincente Omar Barraza
5    City Attorney, City of SeaTac                      Barraza Law PLLC
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8
     Cindy C. Corsilles                                 Henry E. Lippek
9    City of SeaTac, City Attorney's Office             Public Advocate, n.c.
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     Attorney for Fife Motel, Inc.:
13   Walter H. Olsen, Jr.
     Olsen Law Firm PLLC
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     Puyallup, WA 98371
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16   E: walt@olsenlawfirm.com

17   Other parties of record [delivered by 1st-class mail]:
             Janice I. Sylvester
18           12605 – 115th Avenue Ct E
             Puyallup WA 98374-3183
19
             Earl Gipson
20
             17050 – 51st Ave S
21           SeaTac, WA 98188-3246

22         I certify under penalties of perjury that the foregoing is true and correct.
     Signed at Seattle, WA on November 6, 2017.
23                                                     THE PUBLIC ADVOCATE
                                                                A NONPROFIT PROFESSIONAL SERVICES CORPORATION
24

25                                                              Henry E. Lippek
26                                                              Henry E. Lippek, WSBA #2793
                                                                of Attorneys for Petitioners
27

      Petitioners REPORT to the Court, page 4 of 4                                     THE PUBLIC ADVOCATE, N.C.
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